IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION
JACQUELINE S. ROBINSON

Plaintiff,
v. Civil Action File No.

BANK OF AMERICA N. A. d/b/a

BANK OF AMERICA HOME LOANS,
THE NEWPORT AGENCY, & FIDELITY
NATIONAL PR()PERTY & CASUALTY

INSURANCE COMPANY,
Defendants.

NOTICE OF REMOVAL

NOW INTO COURT, through undersigned counsel, comes Defendant, Fidelity National
Property & Casualty lnsurance Cornpany (hereinafter “Fidelity”). Fidelity is a Write-Your-Own
(“WYO”) Prograin carrier participating in the U.S. Governnlent’s National Flood lnsurance
Prograrn (“NFIP”) pursuant to the National Flood lnsurance Act of 1968 (“NFIA”), as
amended,l and appears herein in its “fiduciary”Z capacity as the “tiscal agent of the United
States,”3 at the expense of the United States. Fidelity files this Notice of Rernoval and hereby
removes this matter from state court to the docket of this Honorable Court. Fidelity respectfully
shows as follows:
l. On or about Septernber l4, 2012, Plaintiff, Jacqueline S. Robinson, filed a lawsuit in the
Chancery Court for Sumner County at Gallatin, State of Tennessee, entitled “Jacqueline S.
Robz'nson v. chk ofAmerz'ca, et al ” bearing case number 2012-CV-185. Plaintiff sued Fidelity

in its capacity as her flood insurer; The Newport Agency, her insurance agent (“Newport”); and

 

l See 42 U.S.C. '400l et seq.
2 44 C.F.R. '62.23(1‘).

Case 3:12-cV-01182 Document 1 Filed 11/14/12 Page 1 of 17 Page|D #: 1

Bank of America d/b/a Bank of America Home Loans (“BOA”), her mortgage lender. A true and

correct copy of all pleadings filed in the record of the state court proceeding is attached hereto as

Exhibit A.

2.

For the reasons that follow, Fidelity hereby removes this case from state court to this

federal court, pursuant to 42 U.S.C. §4072, 44 C.F.R. Pt. 6l, App. A(l), Article lX, 28 U.S.C.

§1331, 28 U.s.c. §1332, 28 U.s.c. §1337 and 28 U.s.c. §1367.

A.

3.

REVIEW ()F PLAINTIFFS’ COMPLAINT

ln her Complaint, Plaintiff alleges the following, to wit:

On or about July 20, 2006 Plaintiff purchased the property located at l026 New
Shacl<le lsland, Hendersonville, Sumner County, Tennessee, the subject property
(Exhibit A, 1 7)

Plaintiff made application with Newport to obtain both homeowners and flood
insurance coverage for the subject property. (Exhibit A, 1 12)

Newport obtained flood coverage for Plaintiff through Defendant Fidelity.
(Exhibit A, 1 l4)

The initial flood insurance coverage was paid to Fidelity at the closing of the
purchase of the subject property (Exhibit A, 1 15)

Plaintiff was required to maintain an escrow account with Countrywide/BOA for
the payment of the flood insurance (Exhibit A, 1 17)

Plaintiff BOA (sic) paid the flood insurance premiums to Fidelity with funds from
Plaintiffs escrow account, up to and including the annual premium for coverage
from February 20, 2010 through February 20, 20l l. (Exhibit A, 1 l8)

The flood policy BOA paid on Plaintiffs behalf to Fidelity in February of 2010,
and prior years, was 41-77005723l5-06. (EXhibit A, 1 19)

The policy numbered 41-7700572315-06, issued by Fidelity insured the subject
property against loss associated with a flood for $l48,000.00 and had been in
effect since at least 2006. (Exhibit A, 1 20)

 

3 42 U.S.C. '407l(a)(l);G0wla)1a’\/. Aema Cas. & Sw'ely CO., 143 F.3d 95l, 953 (5th Cir. l998).

Case 3:12-cV-01182 Document 1 Filed 11/14/12 Page 2 of 17 Page|D #: 2

- Fidelity accepted the flood insurance premium paid to it for policy number 4l-
77005723 l 5-06 by BOA in 2010 and all years since 2006. (EXhibitA,12l)

- On or about l\/lay lst and 2nd, 2010, the subject property was severely flooded
and Plaintiff and her family were forced to evacuate the second story of the home
via rescue boats. (Exhibit A, 1 22)

- Following the flood, Plaintiff filed a claim on the Flood policy number 4l-
7700572315~ 06 she paid for, issued by Fidelity with Newport as the local agent
(Exhibit A, 1 23)

- On or about June 8, 2010, Plaintiff was advised by Newport, that Fidelity refused
to pay the claim under the policy 41-77005723l5-06 which Plaintiff had paid the
premium for by BOA through her escrow account. (Exhibit A, 1 24)

- Fidelity did not provide a written denial of the claim to Plaintiff. (Exhibit A, 1 25)

- On or about l\/lay l4, 20l0, after the claim filed by Plaintiff, Fidelity issued a
backdated flood policy number 4l-4400502938-00 for the policy period 07/20/07
to 07/20/08 purporting to be the flood insurance for the subject property (Exhibit
A, 1 26)

- The said policy numbered 41-4400502938-00 provided a loss benefit of only
$8,000.00 for the building and 32300.00 for contents. (EXhibit A, 1 27)

- On or about l\/lay l7, 20l0, after the claim filed by Plaintiff, Fidelity issued a
backdated flood policy number 41-4400502938-01 for the policy period 07/20/08
to 07/20/09 purporting to be the flood insurance for the subject property. (Exhibit
A, ii 28)

- The said policy numbered 41-4400502938-01 provided a loss benefit of only
$7,200.00 for the building and $2,200.00 for contents. (EXhibit A, 1 29)

- On or about l\/lay l8, 2010, after the claim filed by Plaintiff`, Fidelity issued a
backdated flood policy number 41-4400502938-02 for the policy period 07/20/09
to 07/20/l0 purporting to be, the flood insurance for the subject property. (Exhibit
A,1 30)

- The said policy numbered 41-4400502938-02 provided a loss benefit of only
$19,200.00 for the building and $6,000.00 for contents (Exhibit A, 1 31)

- All policies backdated by Fidelity are significantly less than the policy coverage
paid for by Plaintiff as shown on the flood declarations page for policy number
41-7700572315- 06. (Exhibit A, 1 32)

3

Case 3:12-cV-01182 Document 1 Filed 11/14/12 Page 3 of 17 Page|D #: 3

- Plaintiff is entitled to the coverage and benefits for the premiums she paid to
Fidelity under the policy number 41-77005723l5-06. (Exhibit A, 1 33)

- For reasons unknown to Plaintiff, on or about October 2009, BOA obtained
additional flood coverage for the building on the subject property in the amount of
$83,500.00. (Exhibit A, 1 34)

- Defendant BOA charged Plaintiff for this additional flood protection (Exhibit A,
1 35)

- Plaintiff‘s home was severely damaged as a result of the historic flood levels.
(Exhibit A, 1 39)

- Fidelity refused to honor policy number 4l-7700572315-06 and issued the
aforementioned backdated policies. (Exhibit A, 1 40)

- Plaintiff is entitled to payment from Fidelity, Newport (sic) for the damage to her
property as a result of the flood. (Exhibit A, 1 43)

~ Plaintiff is entitled to reimbursement for her expenses from Fidelity under the
flood insurance policy number 41~7700572315-06. (Exhibit A, 1 44)

- Plaintiff is entitled to reimbursement from BOA, through its flood policy, for
damages to and expenses incurred to mitigate damage to the subject property.
(Exhibit A, 1 45)

- Defendants Fidelity and/or Newport breached their duty to provide flood
insurance as evidenced by the Flood Declarations page and represented to
Plaintiff. (Exhibit A, 1 49)

- As a result of Defendant Fidelity and/or Newport'S breach Plaintiff has suffered a
loss of to her property, and did not receive the benefit of the coverage bargained
for. (Exhibit A, 1 50)

- Defendant Fidelity and or Newport made misleading representations to Plaintiff
regarding the coverages she would receive in exchange for the premiums she
paid. (Exhibit A, 1 52)

- Defendant Fidelity and/or Newport knew or Should have known, that the
information they provided to Plaintiff and BOA in the form of a Flood

Declarations Page regarding the flood coverage for the Property would be relied
upon by Plaintiff and BOA. (Exhibit A, 1 53)

- Defendant Fidelity and/or Newport owed a duty to Plaintif`f` to not misrepresent

4

Case 3:12-cV-01182 Document 1 Filed 11/14/12 Page 4 of 17 Page|D #: 4

the actual flood coverage being provided to Plaintiffs property. (Exhibit A, 1 54)
- Plaintiff has suffered a tangible loss to her real property and funds expended to
mitigate the damage to the subject property as a result of her reliance upon
Defendant Fidelity and or Newport to indemnify her against the covered losses.
(Exhibit A, 1 55)
~ Plaintiff alleges additional causes of action under states law for misrepresentation
by concealment, fraud, estoppel, unjust enrichment, and consumer protection
(Exhibit A, 11 56-85)
~ ln her Prayer for relief paragraph, Plaintiff requests an Order that Fidelity
breached the flood insurance coverage outlined in policy 41-7700572315-06; that
Plaintiff is entitled to the face amount of the flood coverage as shown in the flood
declarations policy number 41-7700572315-06; and that Fidelity indemnify and
make whole Plaintiff for her losses related to the flood damage; and that Plaintiff
is entitled to judgment in her favor against Fidelity for the various state law
causes of action. (Exliibit A, Prayer for Relief)
4. There is no question that the Plaintiff sued Fidelity as a result of the denial of her flood
claim for damages that she made pursuant to the provisions of her National Flood lnsurance
Program Standard Flood lnsurance Policy stemming from a flood incident that, according to
Plaintiff, occurred on l\/lay l and 2, 2010. Plaintiff alleges seven separate causes of action in her
suit against Fidelity for l) breach of the flood insurance contract; 2) negligent
misrepresentation/intentional misrepresentation; 3) misrepresentation by concealment; 4) fraud;
5) estoppel; 6) unjust enrichment; and 7) consumer protection, all of which seek payment of the
face amount of the NFlP flood coverage as shown in the flood declarations policy number 4l~
7700572315-06 and an order that Fidelity indemnify and make whole Plaintiff for her losses
related to the flood damage that allegedly occurred on May l-2, 2010.

B. THE FEDERAL GOVERNMENT'S RULES AND THE WYO PROGRAM
CARRIER'S ROLE

5. Congress underwrites all operations of the NFIP through the U.S. Treasury. This includes

appropriations for both the adjustment of claims and the payment of those claims. Similarly,

Case 3:12-cV-01182 Document 1 Filed 11/14/12 Page 5 of 17 Page|D #: 5

Congress has conferred “rule-making power upon the agency created for carrying out its policy,”
specifically the F ederal Emergency Management Agency (“FEMA”).

6. Fidelity, as a WYO Program carrier, is authorized to issue the Standard Flood lnsurance
Policy on behalf of the federal government pursuant to the “Arrangement” between itself and
FEMA, set forth at 44 C.F.R. Pt. 62, App. A.

7. Fidelity cannot waive, alter or amend any of the provisions of the SFIP. See 44 C.F.R.
§6l.l3(d) and 44 C.F.R. Pt. 6l, App. A(l), Art. Vll(D).

8. Further, Fidelity has no authority itself to tailor or alter NFlP policies backed by the
government 44 C.F.R. §62.23.

9. Fidelity’s role, as a WYO Program carrier and as set forth in the Arrangement, is to
market, sell, administer, and handle claims under SFlPs that it is authorized to issue on behalf of
the federal government lt is clear that Fidelity, in its WYO capacity, is conducting all of these
actions in its fiduciary capacity as the “fiscal agent” of the United States. 44 C.F.R. §62.23(D
and 42 U.S.C. §407l(a)(l).

l0. All flood claim payments made by a WYO Program carrier, such as Fidelity, under an
SFlP are made out of a segregated account containing U.S. Treasury funds, as required by 44
C.F.R. Pt. 62, App. A, Art. lll (D)(l), (2) and (3). The Fifth Circuit has held that “payments
made pursuant to that policy are ‘a direct charge on the public treasury.”’ Gowlcma’, 143 F.3d at
955, citing to fn re Eslczte of Lee, 8l2 F.2d 253, 256 (5th Cir.l987). The Eleventh Circuit
analyzed what funds are at stake in the NFlP with regard to claims for interest and noted that
“claim payments come out of FEl\/IA’s pocket regardless of how they are paid ” Newton v.
Capz'l'al Assur. CO., lnc., 245 F.3d 1306, l3ll (l lth Cir. 200l), rehearing en banc denied, 263

F.3d 172 (l lth Cir. 2001).

Case 3:12-cV-01182 Document 1 Filed 11/14/12 Page 6 of 17 Page|D #: 6

ll. Effective October l, 2004, there was a revised “Arrangement” between FEl\/IA and all
WYO Program carriers, including Fidelity. ln that revised Arrangement, FEl\/IA further clarified
its regulations to make clear that, in addition to disputes arising from claims and claims handling,
the policy sales and administration are performed by the WYO Program carriers (a) in their
fiduciary capacity to the governmentj (b) utilizing federal funds, and (c) governed by extensive

federal regulations
l2. l\/loreover, FEl\/IA stated its view that “any” such litigation states a federal question Each

of these points is now clearly stated within the revised Arrangement, and in the following two
paragraphs:

Whereas, FIA has promulgated regulations and guidance implementing the Act
and the Write-Your-Own Program whereby participating private insurance
companies act in a fiduciary capacity utilizing federal funds to sell and administer
the Standard Flood Insurance Policies, and has extensively regulated the
participating companies’ activities when selling or administering the Standard
Flood lnsurance Policies; and

Whereas any litigation resulting from, related to, or arising from the Company:s
compliance with the written standards, procedures, and guidance issued by FEl\/IA

or FIA arises under the Act, regulations, or FlA guidance, and legal issues
thereunder raise a federal question; and . . .

44 C.F.R. Pt. 62, App. A, Article l.
l3. The NFIP, the SFlP, and the WYO Program carriers participating in the NFlP are all
governed by federal law, not state law. See Wesf v. Harris, 573 F.2d 873 (5th Cir. l978), cert
denied, 440 U.S. 946 (l979). ln West, 573 F.2d at 88l, the court stated the following:
“Since the flood insurance program is a child of Congress, conceived to achieve
policies which are national in scope, and since the federal government participates
extensively in the program both in a supervisory capacity and financially, it is
clear that the interest in uniformity of decision present in this case mandates the

application of federal law.”

C. FEDERAL JURISDICTION

Case 3:12-cV-01182 Document 1 Filed 11/14/12 Page 7 of 17 Page|D #: 7

(1). 42 U.S.C. §4072 - Original Exclusive Jurisdiction
l4. 42 U.S.C. §4072 conveys “original exclusive” jurisdiction over claims involving
administration of and claims handling matters under the SFIP.
l5. Plaintiff is aware of the requirement of filing in federal court as SFIP Article Vll(R)
clearly states that the insured “must file suit in the United States District Court of the district in
which the covered property was located at the time of the loss.” Certainly Fidelity is not
suggesting that jurisdiction can be created by contract, but instead it is pointing out that Plaintiff
was fully aware of the requirement of filing in federal court. Further, because the SFIP is a
codified federal regulation, Plaintiff is charged with the knowledge of this requirement See
Fea’e/~al Crop ]ns. Corp. v. Merrl`ll, 332 U.S. 380, 384-85 (1947).

(2). 28 U.S.C. §1331 - Federal Question Jurisdiction
l6. Fidelity asserts that the SFlP is a codified federal regulation found in its entirety at 44
C.F.R. Pt. 6l, App. A(l) and is governed exclusively by federal laws and the NFIA. As per the
terms of the SFlP, “this policy and all disputes arising from the handling of any claim under the
policy are governed exclusively by the flood insurance regulations issued by FEMA, the
National Flood lnsurance Act of 1968, as amended (42 U.S.C. §4001, et seq.), and federal
common law.” 44 C.F.R. Pt. 6l, App. A(l), Article lX. Because the flood policy must be
interpreted using federal common law, federal jurisdiction exists pursuant to 28 U.S.C.§l33 l.
l7. ln order to determine what, if any, U.S. Treasury benefits the Plaintiff may be entitled to
receive, the Court will necessarily have to interpret the SFlP itself as well as the federal laws,
regulations and statutes governing the SFlP. Regardless of the source of funding for Plairitiffs
alleged actual damages, the Court would have to interpret the SFlP itself. Federal common law
governs the interpretation of the SFIP, and “if the language of a policy is clear and unambiguous,

8

Case 3:12-cV-01182 Document 1 Filed 11/14/12 Page 8 of 17 Page|D #: 8

it should be accorded its natural meaning.” Hanover Buz'ldz'l/zg Mal'erz`als v. Gr¢z'ffrz`a'a, 748 F.2d
1011, 1013 (5th Cir. 1984). As the SFlP is a federal law, necessarily the interpretation of the
SFlP (and the federal laws governing the operation of the NFlP) to determine the coverage
provided thereunder based upon rating and zone determinations, and any amounts due under the
SFlP would require the interpretation of a federal law which presents a federal question.

18. The determination as to whether the Plaintiffs property was damaged by a flood and the
coverage placed as defined by the Plaintiff s policy and any interpretation of the rules and
regulations of the NFIP will require the Court to determine whether Fidelity, as a WYO carrier,
followed the federal requirements under the NFlA and require the Court to review and interpret
the applicable rules and regulations governing the Company’s compliance with the written
standards, procedures, and guidance issued by FEl\/IA or FlA which will involve several
substantial federal questions

19. Thus, there is federal question jurisdiction under 28 U.S.C. §1331, and the case is
therefore also removable pursuant to 28 U.S.C. §1441(a), (b) and (c).

20. Plaintiff`s Petition clearly asserts that there was a valid enforceable NFlP flood insurance
contract between Fidelity and Plaintiff. (Exhibit A, 1 12 & 14) Clearly, Plaintiff made a claim for
flood damages and is seeking the enforcement of her NFIP SFIP contract, z`.e. , breach of contract
(Exhibit A, 11 43, 44, 49, 50 & Prayer for Relie® As such, the payment that the Plaintiff seeks
from Fidelity under the SFlP would be a “direct charge on the public treasury,” and would be
“binding” upon the federal government Gowlcmd, 143 F.3d at 955; and 44 C.F.R, Pt. 62, App.
A, Art. ll(F).

21. Pursuant to 28 U.S.C. §1331, and by operation of 28 U.S.C. §1441(a), (b) and ( c),
Fidelity asserts that there are multiple federal questions presented within the Plaintiffs Petition

9

Case 3:12-cV-01182 Document 1 Filed 11/14/12 Page 9 of 17 Page|D #: 9

thereby making the action removable pursuant to 28 U.S.C. §133 1.
3. Nothing Other Than Federal Funds Are At Stake
22. Fidelity is appearing in this litigation in its capacity as a WYO flood insurance carrier
pursuant to the Arrangement between itself and FEl\/IA. The question of whether Fidelity or the
Government would pay any resulting judgment, whether under state or federal law, is determined
by the text of the “Arrangement” between Fidelity and the Government. That Arrangement is
found at 44 C.F.R. Pt. 62, App. A.
23. FEl\/IA promulgated the “Arrangement” based upon its congressionally authorized
responsibilities Article l of the Arrangement, states the following:
Article l - Findings, Purpose, and Authority
Whereas, FIA has promulgated regulations and guidance implementing the Act
and the Write-Your-Own Program whereby participating private insurance companies act
in a fiduciary capacity utilizing Federal funds to sell and administer the Standard Flood
lnsurance Policies, and has extensively regulated the participating companies’ activities
when selling or administering the Standard Flood lnsurance Policies; and
Whereas, any litigation resulting from, related to, or arising from the Company’s
compliance with the written standards, procedures, and guidance issued by FEl\/IA or FlA
arises under the Act, regulations, or FIA guidance, and legal issues thereunder raise a
federal question
24. These two paragraphs expressly explain two things: First, FEl\/lA is communicating that
“federal funds” are indeed utilized to both “sell and adrninister” NFlP policies by the WYO
Program carriers; second, all litigation arising from these operations, in FEl\/IA’s view, states a
federal question
25. Now turning to Article lll(D)of the Arrangement, it is clear that all loss payments under

policies are to be paid for under the Arrangement. Wliile Article lll(D)(l) concerns loss

payments under policies, Article lll(D)(2) separately governs “payments as a result of litigation

10

Case 3:12-cv-01182 Document 1 Filed 11/14/12 Page 10 of 17 Page|D #: 10

that arises under the scope of this Arrangement.” Obviously, in an operation this complex, there
will be litigation arising from the innumerable activities regarding policy issuance and policy
administration Just as obviously, policy issuance and administration activities come within the
scope of the Arrangement, for in Article ll they are expressly made part of the scope of the
Arrangement. Article 111(D)(2) confirms expressly that judgments emanating from lawsuits (Such
as the one at bar) will be paid for by the Government under the Arrangement.

26. ln addition the U.S. Fifth Circuit has recognized that extra-contractual claims against a
WYO would be paid by FEMA stating: “As the regulations do not define the type of conduct that
falls significantly outside the Scope of the arrangement the ultimate decision whether Allstate
will be reimbursed rests with FEMA'.” er'ght v. Allsfate lns. Co., 500 F.3d 390, 394 n.9 (5th Cir.
2007).

27. At this juncture, this Couit is asked to examine a declaration from FEMA’s Director of
Claims from 1999 that has been filed in dozens of prior NFIP cases and which includes a specific
declaration from FEl\/lA that FEl\/lA does pay judgments emanating from exactly the allegations
that are pending at bar. In FEMA’s declaration from 1999 in Cohen v. State Farm Fz`re & Cas.
Co., 68 F.Supp.2d 1151 (C.D. Cal. 1999). (Exhibit B)4, at paragraph 6 of that declaration,
FEMA states unequivocally that “the situation where a company is alleged to have
misrepresented coverage or some other policy provision will be included in the scope of the
Arrangement.” “Misrepresented coverage” is precisely what the Plaintiff alleges She alleges,

based upon her erroneous argument of imputed fault to the carrier of what the agent supposedly

 

4 ludge Maty declined to consider that declaration in Cohe)v, but did take it up in a subsequent niatter, Shery v.
South Carolina

ll

Case 3:12-cv-01182 Document 1 Filed 11/14/12 Page 11 of 17 Page|D #: 11

said or did that Fidelity misrepresented the scope of coverage.5 FEl\/IA has always believed that
it must defend its companies vigorously upon this point, so as to block these types of tactics.6
28. ln the matter at bar, the Plaintiffs claims arise exclusively from her allegations seeking
damages arising from the issuance of her flood policy and the denial of her flood claim.
29. The Plaintiff has not alleged and cannot later argue that Fidelity’s actions are
significantly outside the scope of the Arrangemenl, thus, the logical conclusion is that federal
funds are at risk. l\/lore fundamentally, there is no indication or allegation that the FEl\/IA OGC
has determined that Fidelity’s actions in this matter are outside the scope of the Arrangenient
such that Fidelity would bear the burden of a damage award in this case. Thus, clearly, federal
funds are at risk, Plaintiff’s claims raise a federal question, and therefore removal of this matter
to the United States District Court for the l\/Iiddle District of Tennessee is proper

4. Legal Presumption Under Grissom that Federal Funds at Stake
30. Defendant, Fidelity, respectfully apprises this Honorable Court of a decision of the
United States Fifth Circuit Court of Appeal announced April 23, 2012, in Grz'ssom v. Lz'berfy
Mut, Fz're Im‘. Co., 678 F.3d. 397 (5th Cir. 2012). Under Grz'ssom, it is now established Fifth
Circuit precedent and legally presumed that the claims in this case are being litigated at the full
expense and exposure of the United States Treasury, regardless of whether they are preempted or

not.

D. FEDERAL JURISDICTION ALSO EXISTS BECAUSE THE PETITION BRINGS
INTO PLAY AN ACT OF CONGRESS REGULATING COMMERCE

31. Removal of this case is also proper under 28 U.S.C. §1337, which provides that the

 

5 No direct communications between Fidelity and the Plaintiff are alleged.

6 FEMA=s regulation found at 44 C.F.R. Pt. 61`5(e) is to the same effect, and both mirror the Supr'eme Court=s bar
on all detrimental reliance claims in federal insurance program cases found at Merr/`//, supra, and in Heckle/‘.

12

Case 3:12-cv-01182 Document 1 Filed 11/14/12 Page 12 of 17 Page|D #: 12

district court shall have original jurisdiction of any civil action or proceeding arising under any
act of Congress regulating commerce Just like §1442, §1337 is not subject to the well-pleaded-
complaint rule. Under §1337, removal is proper where the facts alleged in the Plaintiff s petition
bring into play an act of Congress that regulates commerce, regardless of whether any reference
to the said act appears in the Plaintiff s pleading Uncle Ben’S Inrernatl`onal Division Of Urzcle
Ben ’s lirc. v. Hapag-LloydAkfz'engesellschq]?, 855 F.2d 215, 216-17 (5th Cir. 1988); C/'l`spin CO.,
v. Lykes Bl"Os. Steamshl`p CO., 134 F.Supp.704, 706 (S.D.Tex. 1955); and Commonwealth of
Puerlo Rz'co v. Sea-Lana’ Servl‘ce Inc., 349 F.Supp.964, 973-74 (D.P.R. 1970).
32. Clearly, under the National Flood lnsurance Act, 42 U.S.C. §4001, et seq., Congress is
regulating commerce by promulgating the complex and comprehensive statutory scheme that is
commonly described as the National Flood lnsurance Act. As recognized in C.E,R. 1988 [nc. v.
Aema Cczsr/al!y and Sw‘ely CO., 386 F.3d 263 (3rd Cir. 2004):

FN3. The insurance industry in the United States operates in interstate commerce

States may regulate the insurance industry only to the extent Congress permits

U.S. Const. ait. 1, § 8, cl. 3. The l\/lcCarren-Ferguson Act, 15 U.S.C. § 1011, et

seq., grants states this power except where Congress enacts legislation that

“specifically relates to the business of insurance.” 15 U.S.C. §1012 (b). ln Barnell

chk OfMarz.`on Counly v. Nelson, 517 U.S. 25, 116 S.Ct 1103, 134 L.Ed.2d 237

(1996), the Supreme Court held that the exception for acts relating to the business

of insurance should be construed broadly, noting that “[t]he word ‘relates’ is

highly general.” ]a'. at 38, 116 S.Ct. 1103. Without doubt the NFIA is

congressionally~enacted legislation relating to the business of insurance ]d. at FN

3
33. Beyond the general proposition that the National Flood lnsurance Act regulates
commerce, it is also clear that in a more particularized sense, the Act expressly regulates both the

subjects of claims and claims handling, as well as “the conditions of insurability.” See, e.g., 42

U.S.C. §§4013 and 4019. Plainly, federal laws affecting commerce are involved in the facts put

13

Case 3:12-cv-01182 Document 1 Filed 11/14/12 Page 13 of 17 Page|D #: 13

at issue in the Plaintiff`s Petition, and so removal of that Petition is proper pursuant to 28 U.S.C.
§1337.

E. THERE IS SUPPLEMENTAL JURISDICTION OVER ANY STATE LAW
CLAIMS

34. To the extent that any of the claims of the Plaintiff are not subject to federal jurisdiction,
this Court has jurisdiction over all such claims under 28 U.S.C. §1367, which provides that “the
district courts shall have supplemental jurisdiction over all other claims that are so related to
claims in the action within such original jurisdiction that they form part of the same case or
controversy under Article 111 of the United States Constitution.” 28 U.S.C. §1367. See Exxon
Mobz`le Corp, v. Allapazfah Servi'ces, [)ic., 125 S.Ct. 2611, 2620 (2005).
35 . All of the claims put at issue in the Plaintiff" s Petition arise from the damages that she
allegedly sustained as a result of the issuance of a flood policy and from her efforts to obtain
flood insurance benefits as a result of a loss on l\/lay 1-2, 2010. As such, all of the Plaintiff` s
legal claims arise from the same nucleus of operative fact, that being the underlying flood loss
claim, and all of the insurance issues arising therefrom. Traditionally, federal courts have
exercised supplemental jurisdiction over all such claims in cases of this type See, e.g., Jamal v.
vaelers Lloyds OfTexas [ns. CO., 97 F.Supp.2d 800, 805 (S.D.Tx. 2000).
F. SEPARATE AND INDEPENDENT FEDERAL CLAIM
36. Plaintiffs claims against Fidelity under the SFlP involve an obligation distinct and
separate from the claims made against the co-Defendants. l\/lore particularly:

a. The issuance of an SF 1P is governed by federal law and flood claims are paid with

U.S. Treasury funds;

b. The interpretation of an SFIP insurance policy to determine coverage is the

14

Case 3:12-cv-01182 Document 1 Filed 11/14/12 Page 14 of 17 Page|D #: 14

interpretation of a codified federal regulation found at 44 C.F,R. Pt. 61, App.
A(l);
c. Plaintiff s claims as to how Fidelity issued, administered, and breached the SFlP
at paragraphs 14, 20-33, 40, 43, and 48-85 of Plaintiff’s Petition are independent of
Plaintiff s claims against the co-Defendants As such, Plaintiff s claims as to Fidelity can
only be removed by the WYO Program carrier Fidelity.

37. Removal of such claims is allowed pursuant to 28 U.S.C. 1331, which provides in

pertinent part:

(c) Whenever a separate and independent claim or cause of action within the jurisdiction
conferred by section 1331 of this title is joined with one or more otherwise non-
removable claims or causes of action, the entire case may be removed and the district
court may determine all issues therein, or, in its discretion may remand all matters in
which state law predominates

38. Thus, regardless of the other claims against the Co-Defendants, if this Court finds one

federal claim that is separate and independent as to Fidelity, then this Court has jurisdiction and

this removal is proper.

F. PROCEDURAL REQUIREMENTS FOR REM()VAL HAVE BEEN MET

39. Fidelity notes that its first knowledge or notice of the suit was on or about October 15,

2012, a copy of which is attached hereto as part of Exhibit A.

40. For the reasons discussed above and herein, Plaintiff s claims for payment of damages

under an existing SFlP issued by Fidelity raise federal questions that are separate and

independent from all other claims made in this lawsuit Therefore, consent to removal of all co-

Defendants is not required under 28 U.S.C. §1441 ( c). See Hem"y v. ]ndependent Amerl'ccm

Savz`)igs ASSOC., 857 F.2d 995, 999 (5th Cir. 1998).

15

Case 3:12-cv-01182 Document 1 Filed 11/14/12 Page 15 of 17 Page|D #: 15

41. Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the property and the
majority of the transactions at issue occurred within the jurisdictional territory of this Court
42. Pursuant to 28 U.S.C. §1446(a), attached hereto as Exhibit A is a copy of all processes,
pleadings, and orders served on Fidelity to date
CONCLUSION
WHEREFORE, Defendant, Fidelity National Property & Casualty lnsurance Company,
prays that this Notice of Removal will be deemed good and sufficient, and that this matter will be
accepted onto this Court's docket
This 13th day of November 2012.
Respectfully submitted,

PATRICK, RD, SCHULMAN & JACOWAY,
P.C.

steven M. Jac@wa,\.£:j§ #012129

(admission pending ` hac vice)

Attorney for Fidelity National Property & Casualty
lnsurance Company

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Of counsel:

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16

Case 3:12-cv-01182 Document 1 Filed 11/14/12 Page 16 of 17 Page|D #: 16

CERTIFI ATE F ER ICE

1 certify that a true and correct copy of the above and foregoing has been served via Hand
Delivery or First Class Mail, with sufficient postage affixed thereon to insure proper delivery,

1 . Trent Lehman, Esq.

Lehman & Lehman

1646 Westgate Circle Suite 102
Brentwood, TN 37027

Bank of America N. A. d/b/a
Bank of America Home Loans
5701 Horatio Street

Utica, NY 13502-1024

Terry Newport

The Newport Agency
1511 l\/lemorial Boulevard
l\/Iurfreesboro, TN 37129

This `Arday of November 2012.

   

Patrick, Bear , j lman & J ‘oway, P. C.

 

By:

 

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17

Case 3:12-cv-01182 Document 1 Filed 11/14/12 Page 17 of 17 Page|D #: 17

